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                                                                       E-FILED
                                            Monday, 18 July, 2022 12:43:11 PM
                 UNITED STATES DISTRICT COURT Clerk, U.S. District Court, ILCD
                   CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       )
                 v.                    )       Case No. 18-30025
                                       )
ABDUL G. ALSAMAH,                      )
                                       )
           Defendant.                  )

    GOVERNMENT’S CONSENT FOR VIDEO CONFERENCING

     The United States of America, by its attorneys, Gregory K.

Harris, United States Attorney for the Central District of Illinois,

and Timothy A. Bass, Assistant United States Attorney, respectfully

submit the following:

     Pursuant to this Court’s July 18, 2022, text order, the

government consents to the sentencing hearing of the defendant

being conducted by video conference if the defendant consents and

the Court concludes that sentencing “cannot be conducted in

person without seriously jeopardizing public health and safety” due

to COVID-19 concerns, and that the sentencing “cannot be further

delayed without serious harm to the interests of justice.” (CDIL

Amended General Order 22-02)
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          Respectfully submitted,

          GREGORY K. HARRIS
          UNITED STATES ATTORNEY

          BY: s/Timothy A. Bass
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                    CERTIFICATE OF SERVICE
     I hereby certify that on July 18, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to counsel of record.



                                 s/Timothy A. Bass
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